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                      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                              IN AND FOR MIAMI DADE COUNTY, FLORIDA




        V.S., by and through her legal
        guardian and mother, S.B.                              CASE NO:
                                                               DIVISION:
                         Plaintiffs,
        vs.

        MIAMI DADE COUNTY SCHOOL BOARD;
        and JEANETTE JOHNSON, individually,

                    Defendants.
        ______________________________________/

                                 COMPLAINT AND DEMAND FOR JURY TRIAL

                 COMES NOW, Plaintiff, V.S. by and through her legal guardian and mother, S.B., and

        by and through the undersigned counsel, and in accordance with the applicable Florida Rules of

        Civil Procedure, and hereby sues defendants, MIAMI DADE COUNTY SCHOOL BOARD and

        JEANETTE JOHNSON, individually, and allege as follows:

                                                      PARTIES


              1. The Plaintiff, S.B., is an individual sur juris and the parent, mother, of V.S. and the court

                 appointed guardian of V.S. with the capacity to sue on V.S.’s behalf.

              2. The Plaintiff, V.S. is a disabled adult, who resides in Miami Dade County, Florida and is

                 a student in the Miami Dade County Public School system and is otherwise suri juris.

              3. The Defendant, School Board of Miami Dade County, Florida (herein after “BOARD”) is
                 a corporate body and governmental agency duly empowered by the constitution and
                 statutes of the state of Florida to administer, manage, and operate the Miami Dade County
                 Public Schools. The BOARD receives local, state and federal funding for the education of
                 children with disabilities. The BOARD meets the definition of a public entity under 42
                 U.S.C. § 12131.
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      4. The defendant, JEANETTE JOHNSON (herein after “JOHNSON”), at all times material
         to this action, was and is a resident of Miami Dade County, Florida and is otherwise suri
         juris. At the time of the abuse described herein, JOHNSON was an employee of the
         BOARD and V.S.’s school bus aide.


                                  JURISDICTION AND VENUE

      5. This is an action for damages in excess of fifteen thousand dollars $15,000.00, exclusive
         of interest and costs, and otherwise within the jurisdictional limits of this Court.
      6. Venue is proper in Miami Dade County, Florida, because the incident from which this
         cause of action arises occurred in Miami Dade County, Florida.


                                       GENERAL ALLEGATIONS
      7. This action arises out of unlawful intentional battery, gross neglect and other acts of
         misconduct against V.S. by her school bus aide, JOHNSON, who committed such heinous
         acts on Plaintiff while working as an employee of the BOARD.
      8. At all times material, Plaintiff was a under the care, custody and control of JOHNSON.
      9. V.S. has been diagnosed with Autism, intellectual disability, impulse control disorder – not
         otherwise specified and a mood disorder not otherwise specified. V.S. is essentially non-
         verbal and has a limited ability to communicate.
      10. V.S. resides in a group home in Miami Dade County, Florida.
      11. V.S. attends public school at a Miami Dade County public school.
      12. V.S. is a student with a disability and eligible for exceptional student education services
         from the BOARD.
      13. V.S. has an individualized education plan (IEP) which describes the student’s need for
         specialized transportation and supports while riding the school bus. V.S. is eligible for
         specialized transportation to and from the group home to her public school program.
      14. V.S. is required to ride on a special bus filled with other students who have disabilities.
         There is a bus driver and at least one aide on the bus at all times. This population of
         students is separated from their non-disabled peers. V.S. is not on a traditional school bus
         and upon information and belief this school bus does not have cameras. Without cameras


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         there is no way to monitor what occurs on the bus and because most of the students are non
         verbal there is no way to ask the students.
      15. In addition to being on a specialized bus, V.S. also requires a harness so that she is not able
         to move around the bus and is dependent on an adult to get her into and out of the harness.
         JOHNSON was responsible for getting V.S. into and out of the harness.
      16. JOHNSON was able to move around the bus freely.
      17. JOHNSON often sat next to V.S
      18. On or about September 22, 2016, V.S. was riding the school bus home from school. She
         was in the harness.
      19. JOHNSON was serving as a bus aide and sitting next to V.S.
      20. At all times material, Defendant JOHNSON was in a position of authority and control. Said
         authority and control was vested in her by the Defendant, BOARD, and its employees,
         including the bus driver.
      21. While acting as a bus aide, JOHNSON sat on V.S., pushed V.S., mocked V.S. and
         subjected V.S. to verbal abuse.
      22. The abuse was captured on video tape by another student and witnessed by other students
         on the bus.
      23. It is also suspected that JOHNSON was responsible for a large bruise V.S. had on her leg.
      24. The distress is clear on V.S. face and in her verbalizations and body language.
      25. The bus driver did not intervene.
      26. Upon information and belief, this was not the first incident of abuse, just the first time it
         was captured on video by another student.
      27. The BOARD failed to provide the requisite level of support, training and monitoring of its
         employees to ensure V.S. would be safe on the school bus.
      28. The battery by JOHNSON, along with her verbal abuse, humiliation and mocking of V.S.
         has caused a breach of trust and confidence in the BOARD. As a result, V.S. has suffered
         injury, including but not limited to bruising, humiliation, psychological injuries, loss of
         faith and feeling safe, anxiety, mood swings, and the loss of capacity for the enjoyment of
         life. These injuries suffered were severe and continuing.




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      29. The BOARD, as the operator and owner of the school bus, had a duty to operate said school
         bus with reasonable care and for the protection and safety of those students who were riding
         on the school bus on or about the date of the incident at issue in this case.
      30. The Plaintiff has complied with all the conditions precedent to maintaining this action,
         including statutory notice to the Defendant BOARD pursuant to Florida Statue section
         768.28.
      31. Plaintiff, by and through her parent and guardian, has engaged the law firm of Langer Law,
         P.A. to represent her in this action who are obligated to pay reasonable fees for their
         services and costs related thereto.


                                                    COUNT I
                                                   BATTERY
      32. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 31 of the Complaint
         as if fully set forth herein.
      33. On September 22, 2016, JOHNSON was acting as an employee of the BOARD, and was
         so employed as a bus aide on specialized transportation for students who have disabilities.
      34. At that time and place, V.S. was a student and as such an invitee of the BOARD and was
         on its bus when JOHNSON battered V.S., causing her bodily injury and subjecting her to
         verbal abuse, embarrassment and humiliation. Upon information and belief, JOHNSON
         also caused a bruise to V.S.’s leg.
      35. JOHNSON violated Florida Statute 784.03 by committing a battery or batteries against
         V.S.
      36. As a direct and proximate result of JOHNSON’s conduct, V.S. was subjected to physical
         abuse that caused injury both physical and psychological.
         WHEREFORE, the Plaintiffs sue Defendant JOHNSON for damages in excess of $15,000
      including pre-and post judgment interest to the extent allowed by law, plus costs and interest,
      and demands a jury trial of all triable issues.


                                                COUNT II
                                         NEGLIENT SUPERVISION
      37. Plaintiff repeats and realleges the allegations in paragraphs 1 through 31 of the Complaint


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          as if fully set forth herein.
      38. Defendants had a legal duty to properly supervise V.S. while she was on a school bus.
      39. Defendants breached such duty by failing to supervise V.S. in a manner that protected her
          from physical and verbal abuse, humiliation, and mocking while riding the school bus.
      40. The Defendant, JOHNSON, and the Defendant BOARD’s agents, employees and/or
          teachers were negligent in their duty to supervise the Plaintiff.
      41. As a direct and proximate cause of the negligent supervision, the Plaintiff suffered injury,
          both physical and emotional.
      42. These injuries were entirely preventable.
      43. The Defendants were negligent in the manner that V.S. was supervised while on the school
          bus.
          WHEREFORE, the Plaintiffs sue Defendants for damages in excess of $15,000 including
      pre-and post judgment interest to the extent allowed by law, plus costs and interest, and
      demands a jury trial of all triable issues.


                                                COUNT III
                                             NEGLIGENCE


      44. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 31 of the Complaint
          as if fully set forth herein.
      45. At all times material, the BOARD owed a duty to V.S. to use reasonable care to ensure
          V.S.’s safety, care, health, and well being by hiring, retaining, assigning, supervising and
          training its faculty who were employed and/or acted as agents in supervisory roles, such as
          JOHNSON in her position as an aide on a bus of special education students. The students
          on this bus are some of the most vulnerable in the public school system.
      46. At all times material, the BOARD was in loco parentis and was held to a standard of
          reasonable protection for the Plaintiff – non verbal disabled child student.
      47. At all times material, the BOARD knew, or in the exercise of reasonable care should have
          known, that JOHNSON was unfit, dangerous and a threat to the health, safety, and welfare
          of V.S. and other disabled, non-verbal or uncommunicative students.
      48. At all times material, the BOARD owed V.S. a duty to investigate JOHNSON’s past and


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         present conduct and warn V.S. and her parents of the potential for harm from JOHNSON,
         disclose its awareness of facts regarding JOHNSON that created a likely potential for harm,
         provide a safe environment for V.S. from exposure to harmful individuals like JOHNSON.
      49. At all times material, the BOARD had a duty to ensure that the appropriate interventions
         and accommodations and services and supports were in place for this disabled student.
      50. At all times material, the BOARD had a duty to ensure that the staff working with and
         having contact with V.S. were trained on her disability and her needs and that they had the
         appropriate services, interventions and supports in place to ensure V.S.’s safety on school
         buses.
      51. At all times material, the BOARD breached these duties in one or more of the following
         ways:
             a. Failing to provide a safe environment for V.S. where she would be free from battery
                  by JOHNSON, an aide, agent and/or employee of the BOARD;
             b. Failing to provide a safe environment for V.S. where she would be free from verbal
                  abuse, humiliation and embarrassment;
             c. Failing to investigate facts regarding JOHNSON that created a likely potential for
                  harm to students she supervised, including V.S.;
             d. Failing to have policies and procedures in place to protect its students from abuse
                  by aides such as JOHNSON;
             e. Failing to have policies and procedures in place to ensure that other employees
                  report abuses like those committed by JOHNSON; and
             f. Failing to provide the appropriate services and/or training for staff interacting with
                  a disabled student.
      52. As a further direct and proximate cause of the negligence of the BOARD, V.S. was
         subjected to physical and verbal abuse which caused V.S. to suffer physical injury and
         psychological injures and suffering, humiliation, embarrassment, anxiety and loss of trust
         and loss of the capacity for the enjoyment of life.
      WHEREFORE, the Plaintiffs sue defendant Miami Dade County School BOARD for damages
      in excess of $15,000.00 including pre-and post judgment interest to the extend allowed by law,
      plus costs and interest, and demand a trial by jury for all triable issues.



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                                               COUNT IV
               NEGLIGENT HIRING, TRAINING, SUPERVISION AND RETENTION
      53. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 31 of the Complaint
         as if fully set forth herein.
      54. At all times material, the BOARD owed a duty to the public and specifically to V.S., a
         disabled student, to employ qualified and competent aides and drivers to work within its
         schools and on its buses, and specifically within its segregated populations, including
         JOHNSON. This duty is even greater in the context of a public school where parents have
         a trust and faith in the leaders, a reliance on those who are chosen to lead, and the school
         acts in loco parentis.
      55. The BOARD has an extra duty to protect students with disabilities and receives local, state
         and federal monies to do the same. This duty includes having the appropriate services,
         supports, interventions and trained staff in place to meet the unique needs of each disabled
         student, including V.S.
      56. At all times material, the BOARD owed a duty to the public and Plaintiff, V.S., to make
         an appropriate supervision and investigation of its employees, servants, and/or agents who
         were in or would be placed in a position to come into contact with disabled students of the
         BOARD.
      57. At all times material, the BOARD owed a duty to Plaintiff, V.S. to terminate any and all
         employees, servants and/or agents that it knew or should have known had engaged or
         sought to engage in abusive and/or neglectful conduct with its disabled students.
      58. At all times material, the BOARD owed a duty to Plaintiff, V.S. to make an appropriate
         investigation of its employees, servants, and/or agents who were in or would be placed in
         a position to come into contact with disabled students, and to ensure the disabled students’
         individual needs were being met and that these students were free from physical and verbal
         abuse, humiliation and mocking.
      59. At all times material, the BOARD owed a duty to Plaintiff, V.S. to terminate any and all
         employees, servants, and/or agents that it knew or should have known had engaged or
         sought to engage in abusive harmful behavior.
      60. At all times material, the BOARD owed a duty to the public and Plaintiff, V.S. to train its
         employees, servants, and/or agents to identify when an abuse and/or neglectful acts occur,


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          are ongoing or have the potential to occur, and to report it accordingly.
      61. Defendant knew or in the exercise of reasonable care should have known that by allowing
          Defendant JOHNSON to have access to disabled students without proper supervision or
          oversight, and/or without the proper supports, interventions, accommodations or services,
          that disabled students were at grave risk of being subjected to verbal and physical abuse,
          humiliation and mocking.
      62. At all times material, the BOARD breached its duty to Plaintiff, V.S. in the following ways:
              a. failing to hire competent and qualified employees, servants, agents and/or agents
                  without proclivities to engage in abusive and neglectful acts against its disabled
                  students;
              b. failing to hire competent and qualified employees, servants, and/or agents with
                  knowledge and training needed to accurately identify abuse of disabled students,
                  especially non communicative students and act accordingly;
              c. failing to investigate the fitness for employment of JOHNSON;
              d. failing to train its employees, servants and/or agents to work with disabled students
                  with respect and dignity;
              e. failing to train its employees, servants and/or agents to identify and report when a
                  member of the BOARD staff is attempting to engage in and/or is engaging in
                  abusive and neglectful acts against its disabled students;
              f. failing to supervise JOHNSON in a proper manner to prevent the abuse of its
                  disabled student V.S.;
              g. failing to train its employees, servants and/or agents to report abusive acts by other
                  employees, servants, and/or agents;
              h. failing to terminate or reassign those employees, servants, and/or agents who were
                  aware of these actions of JOHNSON against V.S. but did nothing to stop or report
                  it;
      63. As a further direct and proximate cause of the negligence of the BOARD, V.S., has suffered
          physical and psychological injury, humiliation and embarrassment.
      WHEREFORE, Plaintiffs, sue defendant BOARD, for damages in excess of $15,000.00
      including pre-judgment and post judgment interest to the extent allowed by law, plus costs and
      interest, and demand a trial by jury for all triable issues.


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                                                  COUNT V
                                          42 U.S.C. SECTION 1983
      64. Plaintiff repeats and re-alleges the allegations in paragraphs 1 through 31 of the Complaint
          as if fully set forth herein.
      65. At all times material, the Fourteenth Amendment provides Plaintiff a right as a public
          school student to personal security and bodily integrity and Equal Protection.
      66. Defendant, BOARD, was a state actor acting under the color of state law.
      67. Defendant, BOARD, subjected V.S., to violations of her right to personal security and
          bodily integrity and Equal Protection by:
              a. Failing to adequately train JOHNSON and other staff to ensure that V.S. was not
                  verbally and physically abused while on the school bus; and
              b. Failing to adequately supervise employees and/or agents of the BOARD, to ensure
                  that disabled students were not able to be abused;
      68. Defendant, BOARD, has and/or had unconstitutional customs or policies of failing to
          adequately train and supervise BOARD employees with regard to maintaining, preserving
          and protecting students with disabilities from violations of their right to personal security,
          bodily integrity and Equal Protection.
      69. Defendant, BOARD’s policies and practices and/or lack thereof constitute disparate
          treatment of and deliberate indifference towards disabled students.
     70. As a direct and proximate result of the BOARD’s written and unwritten customs and
          practices, V.S. was exposed to verbal and physical abuse, humiliation and mocking which
          caused injury - physical and psychological, humiliation, embarrassment, anxiety and
          trauma.
     71. As a further direct and proximate cause of the BOARD’s customs and policies, V.S. has
          suffered damages.
   WHEREFORE, Plaintiffs sue defendant BOARD for damages in excess of $15,000.00 including
   prejudgment and post-judgment interest to extent allowed by law, plus attorneys’ fees and costs
   and interest and demands a trial by jury for all triable issues.




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                                     DEMAND FOR JURY TRIAL

   Plaintiff, V.S., hereby demands a trial by jury on all issues so triable.



   Dated this 26th day of April, 2018.



                                                  BY:     LANGER LAW, P.A.

                                                          s/ Stephanie Langer, Esq.
                                                          Stephanie Langer, Esq.
                                                          Fla Bar no: 149720
                                                          15715 S. Dixie Hwy., Suite 405
                                                          Miami, Florida 33157
                                                          Tel: 305/901-6277 | fax: 305/901-6275
                                                          Email Slanger@langerlawpa.com
                                                          Attorneys for Plaintiff




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                    IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                            IN AND FOR MIAMI-DADE COUNTY, FLORIDA



        V.S., by and through her legal
        guardian and mother, S.B.                           CASE NO:
                                                            DIVISION:
                      Plaintiff,
        vs.

        MIAMI DADE COUNTY SCHOOL BOARD;
        and JEANETTE JOHNSON, individually,

                    Defendants.
        ______________________________________/


                             NOTICE OF SERVICE OF INTERROGATORIES

               COMES NOW the Plaintiff, V.S., by and through her legal guardian and mother, S.B., by
        and through their undersigned counsel and pursuant to Rule 1.340 of the Florida Rules of Civil
        Procedure, propound the following Interrogatories to Defendant, MIAMI-DADE COUNTY
        SCHOOL BOARD to be answered in writing and under oath.


               Dated this 9th day of January, 2018.



                                                      By: /s Stephanie Langer
                                                      Stephanie Langer, Esq.
                                                      FBN: 149720
                                                      Langer Law, P.A.
                                                      Palmetto Bay Centre
                                                      15715 S. Dixie Highway, Suite 405
                                                      (305) 901.6277 (phone)
                                                      (305) 901.6725 (fax)
                                                      Slanger@langerlawpa.com
                                                      Attorneys for the Plaintiff




                     LANGER LAW, P.A. 15715 S. DIXIE HWY, SUITE 405, PALMETTO BAY, FL 33157
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                                  DEFINITIONS AND INSTRUCTIONS

           A. "Defendant,” “you” “District” and/or “school” and its possessive form “your” unless
   specifically named, means or refers to MIAMI-DADE COUNTY SCHOOL BOARD, its agents
   and attorneys, and any and all other persons purporting to act on its behalf.

          B. “Plaintiff" and/or “student” unless specifically named, means or refers to V.S., her
   agents and attorneys, and any and all other persons purporting to act on her behalf.

           C. "Documents" shall mean or refer to all written or graphic matter of every kind or
   description, however produced or reproduced, whether draft or final, original or reproduction, and
   all tangible things within the scope of section 1.280 of the Florida Rules of Civil Procedure,
   specifically including but not limited to: writings, drawings, graphs, charts, photographs, phone
   records, data compilations, letters, correspondence, emails, memoranda, minutes, notes, contracts,
   agreements, memoranda of conversations, tape or mechanical recordings of conversations or
   transcriptions thereof, computer files, internet transmissions or files, microfilm, desk calendars,
   periodicals, bulletins, circulars, notices, rules, regulations, prospectives, communications, reports,
   company worksheets, credit files, evidences or indebtedness, negotiable instruments, or material
   similar to any of the foregoing, however denominated, that is in the possession, custody, or control
   of the party upon whom this request is served, or to which the party can obtain access.

           D. "Communications" shall mean or refer to all inquiries, discussions, conversations,
   negotiations, agreements, understandings, meetings, telephone conversations, emails, letters,
   notes, telegrams, advertisements, or other forms of verbal exchange, whether oral or written, and
   disclosing whether or not mechanically recorded and/or transcribed.

           E.      "Relate to", including its various forms such as "relating to", shall mean: consist of,
   refer to, reflect, or be in any way logically or factually connected with the matter discussed.

           F.    With respect to the production of any documents that are claimed to be privileged,
   a statement shall be provided by the attorney for the Defendant setting forth as to each document:


             1.      the name of the sender, if any, of the documents;

             2.      the name of the author, if any, of the documents;

             3.      the name of the person, if any, to whom copies were sent;

             4.      the date of the document;




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             5.      the date on which the document was received by those having possession of the
                     documents;

             6.      a brief description of the nature and subject matter of the document; and

             7.      statute, rule, or decision that is claimed to give rise to the privilege.


           G.      Whenever appropriate, the singular form of a word should be interpreted in
   plural. " and" as well as "or" shall be construed either disjunctively as necessary to bring within
   scope of this request any information which might otherwise be construed to be outside of the
   scope.

          H.      "Person" means or refers to any individual, corporation, partnership, association,
   organization, and any other entity of all types and natures.

          I.    "Identify", when used with respect to a communication, means to state the name,
   telephone number and present address or other contact information including email address of each
   person present at the communication, and to state the subject matter of the communication. If the
   communication was in writing, identify all documents that relate to the communication in the
   manner provided above.

          J.    "Identify", when used with respect to an individual, means to state the person's full
   name, present business affiliation and position, if known, and present home address, past position
   and business affiliation, if any, with any of the parties herein.

           K.    "Identify", when used with respect to a company or other business entity, means to
   state the company's legal name, the names under which it does business, its telephone number and
   business address, to specify its form, and to identify its principal proprietors, officers, directors and
   agents.

           L.       "Identify", when used with respect to a government agency or an unincorporated
   charitable or not for profit association, foundation or program, means to state the entity's legal
   name, the names under which it operates, the locations from which it operates, to specify its
   enabling legislation, laws, rules or regulations or its registration as a charitable organization, and
   to identify its principals, officers, directors and employees or agents that Defendants dealt with and
   their business addresses.

          M.     "Identify", when used with respect to a document, means to state the date, author,
   addressee, type of document (e.g. "letter"), and to identify its last known custodian and location. In
   lieu of identifying any document, you may make the document or documents available for
   inspection and copying pursuant to 1.340 of the Florida Rules of Civil Procedure by so stating in
   your answer.



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          N.     "Date" means the numeric day, month, and year.

           O.       Each interrogatory shall be answered separately and fully in writing under oath
   unless it is objected to, in which event the grounds for objection shall be stated and signed by the
   attorney making it.



                                            INTERROGATORIES

   1.     What is the name and position of the person answering these Interrogatories, and, the

          number of years this person has been in this position as well as the number of years they

          have been with the District.

          ANSWER:




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   2.    Please state the name(s) and position(s) of the person most knowledgeable regarding the

         hiring and employment of Jeanette Johnson. For each person please include the following:

         a.     Name
         b.     Certifications, if any
         c.     Length of employment with School
         d.     Length of time taught this student

         ANSWER:




   3.    Please list anyone with knowledge about the incident of September 22, 2016. For each

         person please include the following:


         a.     Name
         b.     Certifications, if any
         c.     Length of employment with district
         d.     Length of time acting as an aid, whether individual or for the class, for this
                student

         ANSWER:




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   4.      Please list the school administration for the 2016-2017. For each person please include the

           following:


           a.      Name
           b.      Position held
           c.      Length of time in that position
           d.      Length of time with the district

           ANSWER:




        5. Please list the bus driver driving the bus on September 22, 2016.

           a.      Name
           b.      Certifications, if any
           c.      Length of employment with district
           d.      Length of time in that position

           ANSWER:




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   6.    Please list any statements taken regarding the incident of September 22, 2016. For each

         statement please include the following:


            a. Name
            b. Date statement taken
            c. Position of the person giving statement or if a student

         ANSWER:




   7.    Please list the names and positions of all school personnel, whether administration or staff,

         or independent contractors, who were involved in the incident that occurred with V.S. on

         September 22, 2016.

         ANSWER:




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   8.    Please state what was done, if anything, to investigate the incident of September 22, 2016.

         ANSWER:




   9.    Please state the results of that investigation, if any.

         ANSWER:




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   10.    Please state what disciplinary action, if any, was taken against Jeanette Johnson.

          ANSWER:




    11.   Please state what changes, if any, were made to any polices or procedures following this

          incident.

          ANSWER:




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      12. Please state whether there were any cameras on the bus on September 22, 2016.

      ANSWER:




      13. Please state whether the district has any video of the incident in their possession.

      ANSWER:




      14. Please describe the bus that V.S. was riding on on September 22, 2016.
      ANSWER:




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      15. Please state how many students were on the bus with V.S. on September 22, 2016.
      ANSWER:




      16. Please state how many adults were on the bus with V.S. on September 22, 2016. For each
          person please state the following:

             a.     Name
             b.     Position.
             c.     Employee or independent contractor.
             d.     Number of years in the position.
             e.     Number of years with the district.

   ANSWER:




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      17. Did the District contract with any company and/or person to provide transportation services
         for V.S. on September 22, 2016. If yes, please state the name of the company, the number
         of years the district has worked with this company and if there is a contract for services
         with this company.
   ANSWER:




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   I HAVE READ THE FOREGOING ANSWERS TO INTERROGATORIES AND DO SWEAR
   THAT THEY ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE AND
   BELIEF.
                                                           ___________________________




   STATE OF __________________

   COUNTY OF ________________


          BEFORE ME, the undersigned authority, personally appeared ________________, who

   swears and deposes that he/she has read the Answers to Interrogatories and that the same are true

   and correct to the best of his/her knowledge and belief.

          SWORN TO AND SUBSCRIBED before me this _____ day of ____________ 2018.


                                            ________________________________________________

                                           NOTARY PUBLIC, STATE OF ____________

                                           AT LARGE


                                           PRINT NAME:



                                                           Personally known by me, or

                                                           Produced Identification:




                                                           Type of Identification:

   My Commission Expires:




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                      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
                              IN AND FOR MIAMI-DADE COUNTY, FLORIDA



        V.S., by and through her legal
        guardian and mother, S.B.                            CASE NO:
                                                             DIVISION:
                         Plaintiff,
        vs.

        MIAMI DADE COUNTY SCHOOL BOARD;
        and JEANETTE JOHNSON, individually,

                    Defendants.
        ______________________________________/


                           PLAINTIFF’S INITIAL REQUEST FOR PRODUCTION

                         COMES NOW the Plaintiff, V.S., by and through her legal guardian and mother,
        S.B., and by and through the undersigned counsel, and pursuant to Florida Rules of Civil Procedure
        1.350 and 1.280 the Family Educational Rights and Privacy Act (FERPA), 20 U.S.C. § 1232g; 34
        CFR Part 99, and hereby requests that the Defendants, MIAMI DADE COUNTY SCHOOL
        BOARD and JEANETTE JOHNSON, produce the following documents and/or items:


                                      INSTRUCTIONS AND DEFINITIONS

        INSTRUCTIONS

              1. If any document is claimed to be immune from discovery on the ground of privilege, please
                 indicate the author, date, recipient and general subject matter of the document, together
                 with the basis on which the privilege is asserted, in lieu of propounding the document. A
                 privilege log can be utilized.

              2. If any of the documents cannot be produced in full, produce to the extent possible, and
                 specify the reasons for the inability to produce the remainder.

              3. This document request is a continuing one. If, after producing documents, you obtain or
                 become aware of any further documents responsive to this request, you are hereby
                 requested to produce such additional documents.




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      4. In responding to this request, provide such documents as are available to you, not merely
         such documents as are within your own immediate possession. This means you are to
         furnish documents, which are known by or in the possession of your employees,
         representatives or agents, including your attorneys.


   DEFINITIONS

      1. The term “educational records” is defined by federal law to mean “those records that are
         directly related to a student and maintained by an educational agency or by a party acting
         for the agency.” 34 C.F.R. § 99.3.

      2. As used herein, “you”, “your,” “school” or “District” means the party to whom this request
         is directed, employees, attorneys and accountants employed by that party or anyone or
         group of the foregoing or any other person acting for on behalf of or under its authority or
         control.

      3. As used herein, the terms “document” and “documents” include, but are not limited to, any
         written or electronic or graphic matter or record of any type of description including but
         not limited to, emails, computer files, internet files, photocopies, recordings and all tangible
         things from which information can be processed or transcribed or retrieved (whether email,
         internet, recorded, taped or coded electrostatically, electromagnetically or otherwise)
         whether originals or copies (including but not limited to email, internet, carbon,
         handwritten, typewritten, microfilmed, photostatic or Xerox copies) and including any
         non-identical copies, whether different from the original because of any alteration, notes,
         comments or other material contained thereon or attached thereto, or otherwise, wherever
         located, however produced or reproduced and in whatever language, and all other things in
         which words, figures, notations or writings are affixed or sounds I recordings in writing or
         by any other means, and any such material underlying, supporting or used in the
         preparation thereof. It does not require production of duplications.

      4. As used herein the terms “observation” and “observations” include, but are not limited to
         how the word is normally and commonly used in the school context and environment and
         how it is defined by the dictionary as, “the action or process of observing something or
         someone carefully or in order to gain information.”

      5. As used herein the term “communications” includes, but is not limited to, any written or
         electronic or graphic matter or record of any type of description including but not limited
         to emails, computer files, internet files, photocopies, recordings, document, letters, notices,
         notes, papers and all tangible things with the student’s name, initials, or any other
         identifying information regarding this student.

      6. As used herein the term “assessment” includes, but is not limited to how the word is
         normally and commonly used in the school context and environment and includes the
         gathering of data regarding how a student is performing or progressing and as defined in


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          the dictionary as, “the act of making a judgment about something or the act of assessing
          something.”

      7. As used herein the term “evaluation” includes, but is not limited to how the word is
         normally and commonly used in the school context and environment and includes the
         gathering of data regarding how a student is performing or progressing and as defined in
         the dictionary as, “to determine or fix the value of.”

      8. The terms “student” refers to V.S.

                                        REQUEST TO PRODUCE

   REQUEST TO PRODUCE N0.1

   Any and all communication between the student, her guardians/advocates and/or the family and

   the district, whether formal or informal, from September 2016 – December 2016.

   REQUEST TO PRODUCE N0.2

   Any and all internal communications related to this student or family, whether formal or informal

   from September 2016 through the present.

   REQUEST TO PRODUCE N0.3

   Any and all discipline records for this student, whether formal and informal, related to any

   incidents on the school bus from 2016 to the present – including but not limited to electronic

   records, paper records, referrals, suspensions, detentions, removals, data collection, notes,

   observations or the like.

   REQUEST TO PRODUCE N0.4

   Copy of any and all Functional Assessments of Behavior from 2016.

   REQUEST TO PRODUCE N0.5

   Copy of the IEP in place in September 2016.

   REQUEST TO PRODUCE N0.6

   Copy of any and all IEPs in place in 2016.




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   REQUEST TO PRODUCE N0.7

   Copy of all PBIP (positive behavior intervention plan) created and utilized for this student in 2016.

   REQUEST TO PRODUCE N0.8

   Copy of any BIP in place in September 2016.

   REQUEST TO PRODUCE N0.9

   Copy of any and all incident reports, notes, correspondence and/or electronic mail, whether formal

   or informal, relating to the incident which involved V.S. and occurred on or about September 22,

   2016.

   REQUEST TO PRODUCE N0.10

   A full and complete copy of the insurance policy referenced in the August 3, 2017 correspondence

   from Danay Iglesias, Liability Resolution Manager for Gallagher Bassett inclusive of the

   declarations page as well as any and all amendments to same.

   REQUEST TO PRODUCE N0.11

   A full and complete copy of the employment file for Jeanette Johnson including any and all intake

   paperwork, interview notes and discipline records.

   REQUEST TO PRODUCE N0.12

   A full and complete employee file of the employment file of the bus driver driving the bus on

   September 22, 2016.

   REQUEST TO PRODUCE N0.13

   A copy of all video records related to the incident which occurred on September 22, 2016.

   REQUEST TO PRODUCE N0.14

   A copy of all investigative reports, whether formal or informal, including all notes, statements and

   other documentation collected throughout the investigation of the incident which occurred on

   September 22, 2016.


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   REQUEST TO PRODUCE N0.15

   Copy of any statements taken from employees or teachers or aides or bus drivers or students or

   V.S. related to the incident occurring on September 22, 2016.

   REQUEST TO PRODUCE N0.16

   Copy of all information provided to the State Attorney’s Office regarding this incident.

   REQUEST TO PRODUCE N0.17

   Any documents relied upon to answer Interrogatories dated January 9, 2018.



   Dated this 9th day of January, 2018.



                                                BY:     LANGER LAW, P.A.

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